UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In re:

MATTHEW D. BETTERS,                                    Chapter 7
                                                       Case: 18-21159
                              Debtor,
                                                       COMPLAINT TO VOID
                                                       FRAUDULENT TRANSFERS,
                                                       TO COMPEL TURN OVER OF
                                                       ESTATE ASSETS, TO OBJECT TO
                                                       DEBTOR’S DISCHARGE AND TO
                                                       OBTAIN AN ACCOUNTING

KENNETH W. GORDON, TRUSTEE,

                              Plaintiff,

              -vs.-                                    AP Case No:

MATTHEW D. BETTERS, BETTERS INTERNATIONAL, INC.,
KATERINE BETTERS aka EKATERINE KHUGEIAN,
AND GLEICHENHAUS, MARCHESE AND WEISHAAR, P.C.,


                              Defendants.


The Complaint of Kenneth W. Gordon, respectfully alleges:

         1.   Plaintiff, Kenneth W. Gordon is the duly qualified and acting Chapter 7 Trustee

              in this case.

         2.   This adversary proceeding is commenced pursuant to the following sections of

              Title 11 to seek the relief indicated:

                      A.      Under §548 to seek an order of the Court to void the pre-petition

                              transfer of funds;

                      B.      Under §549 to seek an order of the Court to void the post-petition




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                       transfer of funds;

               C.      Under §542 to compel the turnover of estate assets consisting of

                       funds;

               D.      Under §542 and §543 to compel an accounting from custodians of

                       estate funds and to recover from said custodians and/or surcharge

                       said custodians for improper disbursement of estate funds;

               E.      Under §550 to recover from the initial transferee funds which are

                       the subject of any transfers avoided pursuant to any of the above

                       Sections of Title 11; and

               F.      Under §727(2) to deny Debtor a discharge.

   3.   This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

        §1334 (b) and 28 U.S.C. §157(b)(1). This is a core proceeding pursuant to 28

        U.S.C. §157 (b)(2)(E), (H) and (J).

   4.   Defendant, Matthew D. Betters, (hereinafter “Betters”) is the Debtor in the above

        captioned Chapter 7 proceeding and has a residence at 10 Tor Hill in the Town of

        Pittsford, County of Monroe, State of New York.

   5.   Defendant, Betters International, Inc. ( hereinafter “Betters International”) is, upon

        information and belief, a corporation solely owned and controlled by Betters or

        his spouse, Katerine Betters, and it is organized under the laws of the State of

        Nevada and operating in the State of New York. Betters is the registered agent for

        service of process for Betters International with a designated service address of 10

        Tor Hill, Pittsford, New York 14534.

   6.   Defendant, Katerine Betters, is the current spouse of Betters, and upon




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         information and belief, currently resides at 10 Tor Hill, Pittsford, New York

         14534. Upon information and belief, Katerine Betters is also known as Ekaterine

         Khugeian.

   7.    Defendant, Gleichenhaus, Marchese and Weishaar, P.C., (hereinafter “GMW”) is

         a professional corporation organized and existing under the laws of the State of

         New York with principal executive offices and an address for service of process at

         930 Convention Tower, 43 Court Street, Buffalo, New York 14202. GMW is the

         attorney for Betters in the present Chapter 7 case.

   8.    On November 8, 2018, Betters filed the above captioned case under Chapter 11 of

         Title 11 of the United States Code.

   9.    On February 28, 2019, the Court issued and entered an order converting the

         above captioned case to a case under Chapter 7 of the Bankruptcy Code.

   10.   Prior to the commencement of the present case, Betters had filed a Chapter 13

         proceeding (Case No. 18-21000) which was dismissed by Court order on or about

         October 18, 2018.

   11.   Property of this estate includes Betters’ residence at 10 Tor Hill, Pittsford, New

         York and a promissory note owed to him by his brother Travis Betters in the

         approximate amount of $4,000,000.00. Quarterly payments in the amount of

         $348,750.00 are to be paid under the promissory note until July 2022. Out of

         these quarterly payments, $38,940.00 is paid to Betters’ ex-spouse Cathy Betters

         for support under a pre-petition assignment dated January 2018. The remaining

         sum of $309,810.00 is to be paid by Travis Betters to Betters quarterly.

   12.   During the Chapter 13 proceeding, at least one quarterly payment was paid to the




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         Chapter 13 Trustee. Upon dismissal of the Chapter 13 case, the Chapter 13

         Trustee paid the remaining funds on deposit of $306,295.00 to GMW who was

         serving as attorney to Betters in the Chapter 13 case.

   13.   After the Chapter 11 case of Betters was filed, a payment of $309,810.00 was

         deposited into Betters’ DIP account at M&T Bank on January 14, 2019.

   14.   This Court entered an order restraining the M&T DIP Account on March 5, 2019

         and on March 7, 2019, this Court entered an order compelling the turnover of the

         DIP Account balance to Plaintiff together with banking records.

   15.   As a result of the Court’s March 5, 2019 and March 7, 2019 orders, Plaintiff

         recovered $6,092.87 from the M&T DIP Account as all other funds had been

         drawn out of the DIP Account by Betters prior to the Court’s orders.

   16.   M&T DIP Account records establish that between January 22, 2019 and February

         14, 2019, Betters signed checks which were posted to the M&T DIP Account

         payable to Betters International in the total amount of $180,669.96.

   17.   M&T DIP Account records establish that between January 22, 2019 and February

         28, 2019, Betters signed checks which were posted to the M&T DIP Account

         payable to Katerine Betters in the total amount of $102,276.95.

   18.   The M&T DIP Account records are attached hereto as Exhibit “A” and show that

         each of the above referenced checks payable to Betters International and Katerine

         Betters were deposited to their respective accounts at JP Morgan Chase Bank.

   19.   According to information provided by Michael Weishaar, Esq. of GMW, at the

         direction of Betters, GMW disbursed $205,000.00 in funds of Betters from the

         GMW trust account to Betters International from October 12, 2018 through




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         November 5, 2018.

   20.   In addition to the above disbursements, GMW disbursed to Betters International

         from Betters’ funds held in trust $72,578.00 after the present case was filed by

         Betters and GMW on November 8, 2018.

   21.   None of the above disbursements from the GMW trust account and none of the

         checks written by Betters on the DIP Account were authorized by the Court nor

         were necessary to preserve such funds.



                            FIRST CAUSE OF ACTION
               FRAUDULENT TRANSFER - ACTUAL INTENT

                               11 U.S.C. §548(a)(1)(A)

   22.   This cause of action is brought pursuant to 11 U.S.C. § 548(a)(1)(A) to avoid the

         transfer by Betters of funds to defendants Betters International and Katerine

         Betters.

   23.   Plaintiff repeats and realleges all of the foregoing allegations of the complaint as

         if more fully set forth herein.

   24.   Betters transferred either directly by check out of the DIP Account or through

         instructions given to GMW out of the attorney trust account a total of $385,699.96

         to Betters International between October 12, 2018 and February 14, 2019.

   25.   Betters transferred by check a total of $102,276.95 to Katerine Betters between

         January 22, 2019 and February 28, 2019.

   26.   The transfer by Betters of the funds to Betters International and Katerine Betters

         was made, received, and accepted with actual intent to hinder or delay or defraud




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         creditors of the debtor which debtor had both at the time of transfer and as of the

         date the case was converted to Chapter 7.

   27.   The transfer of the funds was made within two years before the date that the

         debtor filed his Chapter 7 petition.

   28.   Betters has retained control of the funds as a Director of Betters International and

         as the spouse of Katerine Betters.

   29.   Based upon the foregoing and pursuant to 11 U.S.C. § 548(a)(1)(A), plaintiff is

         entitled to an order avoiding the transfer of the funds to Betters International and

         Katerine Betters.

                          SECOND CAUSE OF ACTION
               AVOIDANCE OF POST-PETITION TRANSFERS
                                    11 U.S.C. § 549

   30.   Plaintiff repeats and realleges each of the preceding paragraphs as if fully set forth

         herein.

   31.   This cause of action is brought pursuant to 11 U.S.C. § 549 to avoid the transfers

         of funds made by Betters or at his direction after the filing of this case on

         November 8, 2018.

   32.   After the commencement of this case, Betters transferred to Betters International

         $72,578.00 pursuant to his instructions to GMW.

   33.   After the commencement of this case, Betters transferred by check to Betters

         International $180,669.96.

   34.   After the commencement of this case, Betters transferred by check $102,276.95 to

         his spouse Katerine Betters.




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   35.   None of the above transfers of funds was authorized under Title 11 nor by the

         Court.

   36.   Based upon the foregoing and pursuant to 11 U.S.C. §549, plaintiff is entitled to

         an order avoiding each of the above referenced transfers.

                           THIRD CAUSE OF ACTION
                       REMEDIES UNDER 11 U.S.C. § 550

   37.   Plaintiff repeats and realleges each of the preceding paragraphs as if fully set forth

         herein.

   38.   Defendants Betters International and Katerine Betters are the initial transferees of

         the funds subject to avoidance under 11 U.S.C. §548 and 549.

   39.   Pursuant to 11 U.S.C. §550 (a)(1) plaintiff is entitled to recover $385,699.96

         from Betters International as a result of the avoidance of the fraudulent transfers

         or, in the alternative, is entitled to recover $253,247.96 from Betters International

         as a result of the avoidance of the post-petition transfers.

   40.   Pursuant to 11 U.S.C. §550 (a)(1) plaintiff is entitled to recover from Katerine

         Betters as a result of avoidance of either the fraudulent transfers or the post-

         petition transfers $102,276.95.

                          FOURTH CAUSE OF ACTION

              TURNOVER OF FUNDS IN DEBTOR’S CONTROL

                                    11 U.S.C. § 542

   41.   Plaintiff repeats and realleges each of the preceding paragraphs as if fully set forth

         herein.

   42.   Betters, as a Director of Betters International and as the spouse of Katerine Betters




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         has retained control of the funds transferred as alleged above.

   43.   Betters has possession, custody and control of all of the funds transferred to either

         Betters International or Katerine Betters as set forth in this Complaint.

   44.   All of the funds transferred by Betters as alleged herein constitute property of the

         estate and should be made available to plaintiff as Trustee to satisfy the claims of

         creditors of the estate.

   45.   Pursuant to the provisions of 11 U.S.C. § 542, plaintiff is entitled to an order to

         compel the turnover by Betters, Betters International, Katerine Betters and GMW

         of all funds in their possession which are property of the estate.

                            FIFTH CAUSE OF ACTION

               DEMAND FOR ACCOUNTING AND TURNOVER

                               11 U.S.C. § 542 AND 543

   46.   Plaintiff repeats and realleges each of the preceding paragraphs as if fully set forth

         herein.

   47.   Defendants Betters International, Katerine Betters and GMW each had knowledge

         of the commencement of the present case.

   48.   Defendants Betters International, Katerine Betters and GMW each has come into

         the custody of funds which are property of the estate.

   49.   Contrary to the provisions of Sections 542(a) and 543(a) of the Bankruptcy Code,

         GMW failed to turn over to the Trustee funds constituting property of the estate in

         its possession.

   50.   Upon information and belief, Katerine Betters and Betters International have

         failed to turn over to the Trustee funds in their possession constituting property of




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         the estate in contravention of Sections 542(a) and 543(a) of the Bankruptcy Code.

   51.   GMW, by its own admission, disbursed to Betters International $72,578.00 of

         estate money after the commencement of this case.

   52.   Based upon the foregoing and pursuant to the provisions of Sections 542 and 543,

         GMW, Katerine Betters and Betters International should be compelled to deliver

         to plaintiff as Trustee all funds constituting estate property in their possession,

         should account to plaintiff for any estate funds that came into their possession and

         should be held liable for any improper disbursement of such estate property.

                            SIXTH CAUSE OF ACTION

                          OBJECTION TO DISCHARGE

                                    11 U.S.C. § 727

   53.   Plaintiff repeats and realleges each of the preceding paragraphs as if fully set forth

         herein.

   54.   The discharge of Betters as debtor should be denied under 11 U.S.C. §727(2).

   55.   As set forth above, Betters, with the intent to hinder, delay, or defraud his

         creditors or the Trustee, transferred or concealed or permitted the transfer or

         concealment of property of the debtor within one year before the commencement

         of this case.

   56.   As set forth above, Betters, with the intent to hinder, delay, or defraud his

         creditors or the Trustee, transferred or concealed or permitted the transfer or

         concealment of property of the estate after the date of filing of the petition in this

         case.




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WHEREFORE, plaintiff respectfully requests judgment against defendants as follows:

       (a)    Avoidance of the transfers set forth in the First and Second Causes of Action;

       (b)    Judgment against Betters International and Katertine Betters as demanded in the

              Third Cause of Action;

       (c)    Turnover of funds and an accounting for funds as set forth in the Fourth and Fifth

              Causes of Action;

       (d)    Denial of Debtor’s discharge as demanded in the Sixth Cause of Action; and

       (e)    Plaintiff be awarded such other and further relief as to the Court may seem just

              and proper together with the costs and disbursements of this action, plus interest.

                                                    /s/ Kenneth W Gordon

Dated: March 14, 2019
                                                  KENNETH W. GORDON, TRUSTEE
                                                  1039 Monroe Avenue
                                                   Rochester, New York 14620
                                                  (585) ) 244-1070




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